     Case 1:17-cr-00207-CAP-CMS Document 86 Filed 10/26/17 Page 1 of 7




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,           )
         Plaintiff,                 )
                                    )
v.                                  ) Case No. 1:17-CR-207
                                    )
LENARD GIBBS,                       )
          Defendant.                )
____________________________________)

       PRELIMINARY1 MOTION TO EXCLUDE OUT-OF-COURT
          AND IN-COURT EYEWITNESS IDENTIFICATIONS
                  AND REQUEST FOR HEARING

      COMES NOW, the defendant, LENARD GIBBS, by and through his

undersigned counsel, pursuant to the Sixth and Fifth Amendments to the United

States Constitution and moves this Court to exclude evidence of, and testimony

concerning, any pre-trial identification made of Mr. Gibbs by any witness in the

above-styled case involving a photographic line-up or interview procedure that was

unduly suggestive or that was administered pursuant to unfair or suggestive

procedures.

      Mr. Gibbs also moves to exclude any in-court identification by any witness



1
      Mr. Gibbs was initially arraigned on June 28, 2017. He was arraigned on the
      first superseding indictment on August 24, 2017. Counsel has repeatedly
      requested additional information regarding the photographic line ups in this
      case. When this discovery is received, counsel may request leave to perfect
      this motion.
     Case 1:17-cr-00207-CAP-CMS Document 86 Filed 10/26/17 Page 2 of 7




who was previously shown the tainted photographic line-up or photograph. In

support whereof Mr. Gibbs shows the Court the following:

I.    BACKGROUND

      The indictment alleges that Mr. Gibbs committed the following robberies:

November 3, 2016 – Loan Max
November 3, 2016 – PNC Bank (Benita Alveranga and Kyre Campbell also charged)
November 28, 2016 – People’s Bank (Miles Butler also charged)

      The discovery in this case reveals that photographs and/or photographic arrays

were utilized to identify Mr. Gibbs as a suspect in at least one of the charged

robberies. Thus far, the government has provided 3 six-pack photo arrays that

contain Mr. Gibb’s photograph and two very dark photographs that appear to include

identification information provided by a co-defendant. It appears that one of the

line-ups using the six-pack array was conducted by the Gwinnett Police Department

on November 23, 2016. It appears that no identification was made at this time2. It

appears a second line up using the same array was conducted by the Gwinnett Police

Department on December 2, 2016. It appears that someone identified Mr. Gibbs in


2
      The government initially provided part of the November 23, 2017 line up as
      pages 61-62 of discovery. In this version of the line-up, someone wrote
      “0/NO ID” on the “photographic line-up affidavit,” but in the attached photo
      array someone had circled Mr. Gibb’s photograph in position 5. When
      counsel inquired about this issue, the government produced the two line-ups
      at pages 8-9 and 10-11, which apparently show a “NO/ID” on November 23,
      2016 and a selection of Mr. Gibbs in position 5 on December 2, 2016. (See
      attached Exhibits A, B, C). Mr. Gibbs has received no further information
      about the circumstances surrounding either line-up interview.
                                         2
     Case 1:17-cr-00207-CAP-CMS Document 86 Filed 10/26/17 Page 3 of 7




position 5. It also appears that a co-defendant made an identification of Mr. Gibbs

from a single photograph on December 1, 2016 and also apparently identified the

figure of a person inside the bank during one of the robberies as Mr. Gibbs.

      Despite repeated requests, the government has yet to provide any information

regarding the circumstances surrounding these identification interviews including

how the identification procedure was conducted, whether the original photo arrays

were color or black and white, whether the interviewee provided a description of a

suspect prior to being shown any photographs, and who was present during the line-

up interviews. The government has stated there are video and/or audio recordings

of at least some of the interviews but they have not yet been provided.

      Without further information, Mr. Gibbs has no way of knowing whether the

interview procedures were unduly suggestive or otherwise or administered in an

unfair manner. Therefore, Mr. Gibbs requests that the Court conduct a hearing to

determine if any of the provided identifications were tainted by an unduly suggestive

procedure. If the Court finds such evidence, he asks that any evidence regarding

these out-of-court identification procedures be suppressed and he asks that the

government not be permitted to solicit an in-court identification from the related

witnesses because such identifications would be unreliable.




                                          3
      Case 1:17-cr-00207-CAP-CMS Document 86 Filed 10/26/17 Page 4 of 7




II.   LEGAL BASIS FOR EXCLUSION

      The Due Process Clause protects an accused against the admission of

unreliable identification evidence. Manson v. Brathwaite, 432 U.S. 98, 113, 97 S.Ct.

2243, 2253 (1977). In Foster v. California, 394 U.S. 440 (1969), the Supreme Court

recognized that, under a totality of the circumstances standard, the conduct of

identification procedures may be “so unnecessarily suggestive and conducive to

irreparable mistaken identification as to be a denial of due process of law.” Id. at 442

(internal quotation marks omitted); see also Simmons v. United States, 390 U.S. 377,

384 (1968) (holding that “each case must be considered on its own facts, and that

convictions based on eyewitness identification at trial following a pretrial

identification by photograph will be set aside on that ground if the photographic

identification procedure was so impermissibly suggestive as to give rise to a very

substantial likelihood of irreparable misidentification”). The linchpin in determining

the admissibility of identification evidence is reliability. Manson v. Brathwaite, 432

U.S. 98, 114 (1977). “It is the likelihood of misidentification which violates a

defendant’s right to due process.” Neil v. Biggers, 409 U.S. 188, 198 (1973).

      In the Eleventh Circuit, a two-step analysis is used to determine whether the

admission of an out-of-court identification violates due process. United States v.

Diaz, 248 F.3d 1065, 1102 (11th Cir. 2001) (citing Cikora v. Dugger, 840 F.2d 893,

895 (11th Cir. 1988)). First, a court must determine if the original identification


                                           4
      Case 1:17-cr-00207-CAP-CMS Document 86 Filed 10/26/17 Page 5 of 7




procedures were unduly suggestive. Id. Factors considered in determining whether

a photo array is unduly suggestive include the size of the array, the manner of its

presentation, and details of the photographs themselves. United States v. Sanchez,

24 F.3d 1259, 1262 (10th Cir. 1994); United States v. Rosa, 11 F.3d 315, 330 (2d

Cir. 1993). Single photograph displays, like two of those apparently presented here,

have been found to be unduly suggestive. See United States v. Cannington, 729 F.2d

702, 711 (11th Cir.1984). Second, if an identification procedure is found to be

unduly suggestive, then a court must consider whether, under the totality of

circumstances, the identification was nonetheless reliable. Diaz, 248 F.3d at 1102.

Factors to be considered in determining reliability of an identification include: “the

opportunity of the witness to view the [defendant] at the time of the crime, the

witness’ degree of attention, the accuracy of the witness’ prior description of the

[defendant], the level of certainty demonstrated by the witness at the confrontation,

and the length of time between the crime and the confrontation.” Manson, 432 U.S.

at 114; Biggers, 409 U.S. at 199-200. Because counsel has no idea who participated

in the line-up interviews, there is no way of knowing if the person being shown the

line-up ever provided a description of a suspect prior to being shown the photo array.

      For all of these reasons, Mr. Gibbs requests that the Court hold a hearing to

determine the admissibility of any out-of-court identification the government intends

to offer as evidence at trial and to determine if any subsequent in-court identification


                                           5
     Case 1:17-cr-00207-CAP-CMS Document 86 Filed 10/26/17 Page 6 of 7




would be too unreliable to be admitted at trial.

      Respectfully submitted this 26th day of October 2017.

                                       /s/SARALIENE S. DURRETT
                                       Saraliene S. Durrett
                                       1800 Peachtree Street
                                       Suite 300
                                       Atlanta, GA 30309




                                          6
     Case 1:17-cr-00207-CAP-CMS Document 86 Filed 10/26/17 Page 7 of 7




                            CERTIFICATE OF SERVICE


      This is to certify that the undersigned has this date electronically filed the
foregoing motion with the Clerk of the Court using the CM/ECF system which will
automatically send email notification of such filing to the following attorney(s) of
record:
      All Defense Counsel
      All AUSAs of record
      This 26th day of October 2017.
                                       /s/SARALIENE S. DURRETT
                                       Saraliene S. Durrett
                                       1800 Peachtree Street
                                       Suite 300
                                       Atlanta, GA 30309




                                         7
